               Case 4:23-cr-00218        Document 4       Filed on 05/17/23 in TXSD         Page 1 of 1
                                                                                                United States District Court
                                                                                                  Southern District of Texas
            Sealed                                                                                   ENTERED
Public and unofficial staff access                                                                   May 18, 2023
     to this instrument are           UNITED STATES DISTRICT COURT
   prohibited by court order           SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                           HOUSTON DIVISION

            UNITED STATES OF AMERICA          §
                                              §
            vs.                               §                            CRIMINAL NO. _____________
                                                                                        4:23-cr-218
                                              §                            UNDER SEAL
            (1) HARDIK JAYANTILAL PATEL,      §
                aka Erik,                     §
                aka Mitesh,                   §
                aka Nick,                     §
                aka Dev,                      §
            (2) DHIRENKUMAR VISHNUBHAI PATEL, §

                           Defendants.


                     ORDER ON UNITED STATES’S MOTION TO SEAL INDICTMENT

                  Pending before the Court is the United States Motion to Seal the Indictment. The Court

          hereby GRANTS the Motion to Seal the Indictment.

                  IT IS THEREFORE ORDERED that the Indictment, the Government’s Motion To Seal

          Indictment, and the Order Sealing Indictment all be sealed together.

                  IT IS FURTHER ORDERED that the Indictment, Motion, and Order will automatically be

          unsealed as to a particular defendant when the defendant is taken into custody or shows for an

          initial appearance.

                  IT IS FURTHER ORDERED that the United States may nonetheless produce these

          documents to any defendant and his counsel, and to any state, local, federal, and foreign law

          enforcement agency assisting with, or working on this matter and related matters, to comply with

          its discovery obligations, continue investigation of other potential charges in this matter, and for

          the apprehension and extradition of any defendant.

                  Signed on May 17th, 2023 in Houston, Texas.


                                                        __________________________________________
                                                        UNITED STATES MAGISTRATE JUDGE
